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IN THE UNITED STATES BANKRUPTCY COURT !
FOR 'I`HE DISTRICT OF I)ELAWARE l

 

In re: Chapter 11

J & M SALES INC., et al., Case No. 18-11801 (LSS)

Debtors.l Jointly Adminis tered

Re: Docket No. 15

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INTERIM ORDER (A) ESTABLISHING PROCEDURES FOR RESOLVING
RECLAMATION DEMANDS AND (B) GRANTING CERTAIN RELATED RELIEF

Upon the motion (the “Motion”)z of J & l\/.[ Saies lnc. and its affiliated debtors in the
above-captioned chapter il cases, as debtors and debtors in possession (collectively, the
“Debtors”), for the entry of interim and final orders (a) establishing procedures for resolving
reclamation demands and (b) granting certain related relief, as more fully set forth in the Motion;
and upon consideration of the Declaration; and the Court having jurisdiction to consider the
Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334, and the Amended
Sranding Order of Reference from the United States Distriet Court for the District of Delaware
dated February 29, 2012; and consideration of the Motion and the requested relief being a core
proceeding pursuant to 28 U.S.C. § l§?(b); and venue being proper before this Court pursuant to
28 U.S.C. §§ 1408 and 1409; and due and proper notice of the l\/lotion having been provided to
the parties listed therein, and it appearing that no other or further notice need be provided', and
the Court having reviewed the Motion; and the Court having held an interim hearing on the
l Debtoi's in these Chapter l l cases, along with the last four digits of each Debtor’s federal tax identification

number, are: J & i\/‘.l Sales lnc. (4697); National Stores, lnc. (4874); J&M Sales of'l`exas, LLC (5979); FP

Stoi'es, lnc. (6795); Southei‘n island Stores, LLC (8099); Southern island Retail Stores LLC (4237);

Caribbean lsland Stoi‘es, LLC (930]); Pazzo FNB Corp. (9870); Fallas Stores Ho|dings, lnc. {6052); and

Pazzo Managcinent LLC (l924). Debtors’ mailing address is l500! South Figueroa Street, Gardena, CA
90248.

2 Unless otherwise defined herein, capitalized terms shall have the meanings ascribed to them in the Motion.

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Motion; and the Court having determined that the legal and factual bases set forth in the Motion
establish just cause for the relief granted herein; and it appearing that the relief requested in the
Motion is in the best interests of Debtors and their estates and creditors; and upon all of the
proceedings had before the Court and after due deliberation and sufficient cause appearing
therefor,

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

l. The Motion is GRANTED on an interim basis, as set forth herein.

2. Debtors are authorized to pay their undisputed obligations arising from the post-
petition shipment or delivery of Goods by the Sellers pursuant to their customary practices in the
ordinary course prior to the commencement of these Chapter 11 Cases.

3. Nothing in this Order, the Motion, or the Reclamation Procedures modifies the
automatic stay provisions of section 362 of the Banl<ruptcy Code With respect to any Goods. No
Seller is entitled to obtain possession of any Goods Without first filing a motion With the Court
for relief from the automatic stay or other appropriate relief

4. Debtors hereby are authorized to resolve all reclamation demands in accordance
with the exclusive Reclamation Procedures set forth below, Which are hereby approved and
authorized:

(a) For purposes of these Reclaniation Procedures, the foliowing addresses
shall be used for notices required to be sent to such party liereunder:

(i) Debtors’ counsel: (a) Pachulski Stang Ziehl & Jones LLP, 919
North Mari<et Street, 17‘]‘ Floor, P.O. Box 8705, Wilrnington, DE 19899
(Courier 19801) (Attn: Peter J. Keane, Esq. and Richard l\/I. Pachulski,
Esq.), and (b) Katten Muchin Rosenman LLP, 575 Madison Avenue, New
York, NY 10022 (Attn: William Freernan, Esq. and Karen Dine, Esq.);

(ii) Counsel for Encina Business Credit, LLC (“Encina”): Choate l~lall

& Stewart LLP, Two international Place, Boston, MA 02110 (Attn: Kevin
J. Sirnard, Esq.);

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(iii) Counsel for Gordon Brothers Finance Company (“Gordon
Brothers”): Holland & Knight LLP, 10 St. iames Avenue, llth Floor,
Boston, MA 021 16 (Attn: Jason Dell\/lonico, Esq.);

(iv) Counsel for l\/lichael Pallas (“Fallas”): SulmeyerKupetZ, 333
South Hope Street, 35‘5‘ Floor, Los Angeles, CA 9007] (Attn: Victor Sahn,

ESCI‘);

(v) Office of the United States Trustee (the “United States Trustee”)
for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, DE 19801 (Attn: Richard L. Schepacaiter, Esq.); and

(vi) counsel to any official committee appointed in these Chapter ll
Cases.

Any Seller asserting a reclamation demand must include the information
required by and be filed within the time limits set forth under applicable
state law and Bankiuptcy Code section 546(0). Further, to promote the
efficiency of these Reclarnation Procedures, any Seller asserting a
reclamation demand is encouraged to include in the demand: (i) a
statement by Seller as to Whether it has or will assert an administrative
claim pursuant to Section 503(b)(9) of the Banki‘uptey Code for the value
of goods Seller provided to Debtors in the 20 days immediately preceding
the Petition Date, and (ii) to the extent lmown, the amount of the Section
503(b)(9) claim.

On or before the 60th day after the Petition Date, or such later date
established by the Bankruptcy CourtJ Debtors Will Hle a report (as
supplemented, the “Report”) setting forth Debtors’ proposed treatment of
any reclamation demands The Report shall be served on: (i) the United
States Trustee; (ii) counsel to any Official Cornmittee of Unsecured
Creditors appointed in these cases (the “Committee”); (iii) each Seller
that is subject to the Report at the address indicated in their reclamation
demand; (iv) counsel to Encina; (v) counsel to Gordon Brothers; and (vi)
counsel to Fallas (each, a “Notice Party” and collectively, the “Notice
Parties”).

Each Notice Party shall have l4 days from the date of the filing of the
Report to file with the Court an objection thereto setting forth in detail the
reasons why it objects to the Report (an “Objection”). Objections must be
served so as to be received by: (i) counsel to Debtors; (ii) the United
States Trustee; (iii) counsel to the Committee; (iv) counsel to Encina; (v)
counsel to Gordon Brothers; (vi) counsel to Fallas; and (vii) any Seller that
is affected by the Objection, at the addresses listed above, within such 14
day objection period

 

 

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if Debtors become aware of any written reclamation demand that they
received that was not included in the Report, Debtors shall file a
supplemental Report with the Court within 30 days from the date that
Debtors discover such reclamation demand. The supplemental Report
must be served so as to be received by the Notice Parties. Each Notice
Party shall have l4 days from the date of the filing of the supplemental
Report to file with the Court an Objection thereto setting forth in detail the
reasons Why it objects to the supplemental Report. Objections must be
served so as to be received by: (i) counsel to Debtors; (ii) the United
States Trustee; (iii) counsel to the Committee; (iv) counsel to Encina; (v)
counsel to Gordon Brothers; (vi) counsel to Fallas; and (vii) any Seller that
is affected by the Objection, at the addresses listed above, within such i4-
day objection period.

lf no Objection to a Report is filed and served within the time periods set
forth above with respect to a particular reclamation demand, then the
Report shall be deemed final as to the validity and treatment of such
reclamation demand

lf an Objection to a Repoit is filed and served within the time periods set
forth above with respect to a particular reclamation demand, Debtors shall
attempt to reach a consensual resolution of such Objection. lf no
consensual resolution is reached within l4 days after the date of such
Objection, unless such period is extended by mutual agreement of Debtors
and the party filing the Objection, Debtors shall thereafter file a motion for
the Court to resolve such Objection.

Debtors are authorized to negotiate with all Sellers and to reach an
agreement with any Seller. ln the event that Debtors and a Seller are able
to settle on the treatment of the Seller’s asserted reclamation demands,
Debtors shall file a notice of settlement (the “Settlement Notice”) with
the Court and serve such Settlement Notice on: (i) the United States
Trustee; (ii) counsel to the Cornrnittee; (iii) counsel to Encina; (iv) counsel
to Gordcn Brothers; (v) counsel to Fallas; and (vi) any Seller subject to the
settlement The Notice Parties shall have 14 days from the date of the
Settlement Notice to file with the Court an objection thereto. Objections
must be served so as to be received by: (i) counsel to Debtors; (ii) the
United States Trustee; (iii) counsel to the Cornmittee; (iv) counsel to
Encina', (v) counsel to Gordon Brothers; (vi) counsel to Fallas; and
(vii) any Seller, at the addresses listed above within such l4-day objection
period.

lf no objection to a Settlement Notice is timely filed and served, the
reclamation demand shall be treated in accordance with the Settlement
Notice upon filing a certification of no objection with the Court. lf an
objection is timely filed and served and no consensual resolution of such

 

 

 

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objection is reachedJ Debtors will schedule the matter for an omnibus
hearing scheduled in these cases to have the Court resolve such objection

(j) Nothing in the Reclamation Procedures shall affect the automatic stay with
respect to any Goods pursuant to Banl<ruptcy Code section 362(a), nor the
procedures, standards, and burden of proof applicable and/or required
pursuant to Bankruptcy Code section 362(a) in connection with any
attempt by a Seller to obtain possession of any of the Goods. Without
limiting the foregoing, no Seller shall, without the express written consent
of DebtorsJ be entitled to reclaim any Goods without first filing a motion
With the Court for relief from the automatic stay and except to the extent
such motion is granted, and Debtors and all other parties in interest reserve
all rights to object to such motion. Sellers shall be prohibited from seeking
relief from the stay with respect to any reclamation demand until the time
a Report is filed by Debtors with respect to such reclamation demand.

The foregoing Reclarnation Procedures shall be the sole and exclusive method for the
resolution and payment of reclamation demands asserted against Debtors. All Sellers are hereby
prohibited from seeking any other means for the resolution or treatment of their reclamation
demands, including, without limitation, (a) commencing adversary proceedings against Debtors
or (b) interfering with the delivery of any Goods to Debtors.

5. Reclamation claims that are determined, in accordance with the procedures
described in the Motion, to be valid reclamation claims shall be accorded administrative expense
priority under Bankruptcy Code section 503(b)(l); provided, however, that any Seller whose
reclamation demand has been determined under the procedures above has not already been
accorded administrative expense priority for the same claim or Goods.

6. Except as may be provided in paragraph 2 herein, notwithstanding the relief
granted herein or any actions taken hereunder, nothing contained in this Order shall create any
rights in favor of, or enhance the status of any claim held by, any Seller or any other third party.

7. A final hearing to consider the relief requested in the Motion shall be held on

August 28, 2018 at 10:00 a.m. (Prevailing Eastern Tirne) and any objections or responses to the

Motion shall bc filed and served so as to be actually received on or before August 22, 2018 at

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4:00 p.m. (Prevailing Eastern Time) on the following parties: served on the following parties:
(i) counsel to the Debtors, (a) Pachulsl<i Stang Ziehl & lones LLP, 919 North Market Street, l'?‘h
Floor, Wilmington, DE 19801 (Attn: Peter J. Keane, Esq. and Richard M. Pachulski, Esq.);
nkeane@pszilaw.com and rpachulsl<i@nszilaw.com, and (b) Katten Muchin Rosenman LLP, 575
Madison Avenue, New York, NY 10022 (Attn: William FreemanJ Esq. and Karen Dine, Esq.);

bill.freeman@l<attenlaw.com and karen.dine@l<attenlaw.com; (ii) counsel to Encina Business

 

Credit, LLC: Choate Hall & Stewart LLP, Two International Place, Boston, MA 02ll0 (Attn:
Kevin J. Sirnard); (iii) counsel to Gordon Brothers Finance Company, as Administrative Agent,
one of Debtors’ prepetition secured lenders, Holland & Knight, 10 St. J ames Avenue, llth Floo_r,
Boston, MA 02116 (Attn: Jason Dell\/lonico); (iv) counsel for lsrael Discount Banl<; of New
Yorl<, as co-adrninistrative agent and one of Debtors’ prepetition secured lenders, Otterbourg

P.C., 230 Parlr Avenue, New York, NY 10169 (Attn: Daniel Fiorillo); (v) counsel to Michael

Fallas, SulmeyerKupetz, 333 South l~lope Street, 35“‘ Ploor, Los Angeles, CA 90071 (Attn:

Victor Sahn, Esq.); (vi) the Offrce of the United States Trustee, J. Caleb Boggs Federal Building,
Room 2207, 844 North King Street, Wilmington, Delaware 19801, Attn: Richard L.
Schepacarter, Esq.; and (vii) counsel to any official committee appointed in these Chapter ll

Cases.

8. Debtors are authorized and empowered to take such actions as may be necessary

and appropriate to implement the terms of this Order.
9. Notwithstanding Banl<ruptcy Rule 6004(g), if applicable, this Order shall be

effective and enforceable immediately upon entry hereof

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10. This Court shall retain jurisdiction to hear and determine all matters arising from
or related to the implementation of this Order.

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LAURIE SELBER SlLVERSTElN
UNITED STATES BANKRUPTCY JUDGE

 

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